Case 1:18-cv-03368-RLY-MPB Document 10 Filed 12/03/18 Page 1 of 2 PageID #: 94



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

 Christopher McCalley and Marilyn McCalley
 Individually and as Parents of Patrick
 McCalley, Deceased;

                Plaintiffs,                          Case No: 1:18-cv-03368-RLY-MPB
 v.

 Carmel Clay School Corporation, doing
 business through the Board of School Trustees
 of the Carmel Clay Schools, Carmel High
 School, City of Carmel, Toby Steele, Nicholas
 Wahl, and Carmel Police Officer Phil Hobson,

                Defendants.

             MOTION TO DISMISS CLAIMS AGAINST NICHOLAS WAHL

       Defendant Nicholas Wahl, by counsel, moves this Court pursuant to Fed. R. Civ. Pro.

12(b)(6) for dismissal of all claims which Plaintiffs seek to assert against him. Pursuant to Local

Rule 7-1(b)(1), an accompanying brief has been filed in support of this Motion.

                                              Respectfully Submitted,

                                              /s/ Liberty L. Roberts
                                              Liberty L. Roberts, Atty. No. 23107-49
                                              Attorney for Defendants Carmel Clay School
                                              Corporation, Carmel High School, Toby Steele and
                                              Nicholas Wahl
                                              CHURCH CHURCH HITTLE + ANTRIM
                                              10765 Lantern Road, Suite 201
                                              Fishers, IN 46038

                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of December 2018, a true and exact copy of the

foregoing was filed electronically via the Court’s Electronic filing system. Notice of this filing

was sent to the following persons by operation of the Court’s Electronic filing system.

 Sheila M. Sullivan, Atty. No. 14551-49              Paul T. Belch, Atty. No. 18533-49
 FLYNN & SULLIVAN, PC                                Travelers Staff Counsel Indiana

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Case 1:18-cv-03368-RLY-MPB Document 10 Filed 12/03/18 Page 2 of 2 PageID #: 95



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                                             Carmel Police Officer Phil Hobson


                                      /s/ Liberty L. Roberts
                                      Liberty L. Roberts


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